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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )           CASE NO. 8:15CR321
                                                )
              Plaintiff,                        )
                                                )
              vs.                               )                 ORDER
                                                )
JOSE ALBERTO HERNANDEZ-ORTIZ,                   )
                                                )
              Defendant.                        )

       Before the Court are the Findings and Recommendation (“Report”) of Magistrate

Judge Thomas D. Thalken (Filing No. 82). The Report recommends that the Defendant’s

Motion to Suppress (Filing No. 58) be denied. No objections to the Report have been filed.

After a review of the Court record in this matter,

       IT IS ORDERED:

       1.     The Magistrate Judge’s Findings and Recommendation (Filing No. 82) is

              adopted; and

       2.     The Defendant’s Motion to Suppress (Filing No. 58) is denied.

       DATED this 13th day of April, 2016.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge
